        Case 2:21-cv-06012-CBM-RAO                      Document 135            Filed 07/15/24         Page 1 of 1 Page ID
                                                             #:1979
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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
United States of America                                                 CASE NUMBER:           2:21-cv-06012-CBM-RAO

                                                      PLAINTIFF(S),
                                  v.
Denise Dimacale, et al.,
                                                                                          NOTICE OF APPEAL
                                                  DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                   the United States of America                       hereby appeals to
                                                                    Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                         Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                               ✘ Order (specify):
                                                                         G
 G Conviction and Sentence                                                  Order Following Bench Trial (ECF doc. no. 131)
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                        ✘ Judgment (specify):
                                                                         G
 G Interlocutory Appeals                                                     Final Judgment (ECF doc. no. 132)
 G Sentence imposed:
                                                                         G Other (specify):

 G Bail status:



Imposed or Filed on              May 17, 2024            . Entered on the docket in this action on May 17, 2024                              .

A copy of said judgment or order is attached hereto.


July 15, 2024                                            Gavin L. Greene, AUSA
Date                                                     Signature
                                                         G Appellant/ProSe          ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                  NOTICE OF APPEAL
